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AO 440 (Rev, 06/12) S\umprons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

 

CESSNA SERVICEDIRECT, LLC, a Kansas limited )
liability company, ¥
)
Plaintifffs)
v. ) Civil Action No. (p: I>CV- IU Oe -Or- IKESL
UAML AIR CHARTER SERVICES, INC.,a Delaware )
corporation, and UNITED BANK FOR AFRICA, PLC, )
a foreign professional liability corporation, )
@
)
Defendant(s) )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) UAML Air Charter Services, Inc.
c/o: Corporation Service Company, Registered Agent
2711 Centerville Road, Ste. 400
Wilmington, DE 198008

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: ,

If you fail to respond, judgment by default will be entered again ¢ relief demanded in the complaint.

You also must file your answer or motion with the court.

   

 

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AO 440 (Yev. 68/12) Summons in a Civil Action

\ UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

CESSNA SERVICEDIRECT, LLC, a Kansas limited ;
liability company, 4
Plaintiff(s)
v. Civil Action No. (9! 1>-CV-HOL-OHB EK

UAML AIR CHARTER SERVICES, INC.,a Delaware
corporation, and UNITED BANK FOR AFRICA, PLC,
a foreign professional liability corporation,

 

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) UNITED BANK FOR AFRICA, PLC, a foreign professional liability corporation
1 Rockefeller Plaza (8th Floor)
New York, New York 10020-2005

UNITED BANK FOR AFRICA, PLC, a foreign professional liability corporation
UBA HOUSE, 18th Floor, 57 Marina Street
Lagos, Nigeria

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney ,
whose name and address are:

You also must file your answer or motion with the court.

Date: hope I | DUIS SS |
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